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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:09CR368
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )           TENTATIVE FINDINGS
                                             )
CONNIE FLORES SANCHEZ,                       )
                                             )
             Defendant.                      )

      The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 101). The government adopted the PSR

(Filing No. 98). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant apparently did not communicate objections to the probation officer

as required under ¶ 4 of the Order on Sentencing Schedule. However, the objections will

be briefly discussed.

¶ 22 - Defendant’s Alleged Statement

      The Defendant objects to the statement in ¶ 22. Paragraph 22 attributes the

statement to ¶ 45 of the Petition to Enter a Plea of Guilty of Ms. Sanchez’s Petition.

However, the statement appears in ¶ 45 of codefendant Ariel Sanchez-Garcia’s Petition to

Enter a Plea of Guilty. Although the objection was not submitted under ¶ 4 and does not

affect the guideline range, the objection is granted. The probation officer is directed to

remove the statement before sending the PSR to the Bureau of Prisons. Defense counsel

should abide by ¶ 4 of the sentencing schedule in the future; adherence to the sentencing

schedule will avoid the appearance of such errors at this late stage in the process.
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¶ 34 - Role

       The Defendant objects to the lack of a 4-level minimal role reduction under U.S.S.G.

§ 3B1.2(a). The objection will be heard at sentencing.

       IT IS ORDERED:

       1.     The Defendant’s objection to ¶ 22 of the PSR is granted;

       2.     The Defendant’s objection to ¶ 34 will be heard at sentencing; if the parties

need more than 30 minutes for the entire sentencing hearing they should immediately

contact Edward Champion and reschedule the hearing;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 26th day of July, 2010.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge


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